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                                                                    LU.S. DISTRJCT^OURT
                                                                    IMIDDLE DISTRICT OF LOUISIANA

                                                                    FILED AtlR 15 2019

                                                                              CLERK
                          UNITED STATES DISTRICT COURT
                          MIDDLE DISTRICT OF LOUISIANA



    ESROM DEMEKE,
                                                    Case Number:
           Plaintiff,                               19-114-BAJ-RLB

             V.
                                                    Judge
                                                    Brian A. Jackson
    BOARD OF SUPERVISORS OF
    LOUISIANA STATE UNIVERSITY, and
                                                    Mag. Judge
    A&M COLLEGE, ETAL.
                                                    Richard L. Bourgeois,
                                                    JR.
          Defendants.




                            FIRST AMENDED COMPLAINT




  The Plaintiff, Esrom Demeke, (hereinafter "Plaintiff or "Esrom") brings this action against

  Defendants, and asserts his causes of action as follows:


                                       INTRODUCTION


1. This is an action to remedy violations of the Plaintiff's rights


  under Title II of the Americans with Disabilities Act of 1990, as amended


  (the "ADA")/ 42 U.S.C. § 12131/ efc seq.; Section 504 of the

  Rehabilitation Act of 1973 ("Section 504//) , 29 U.S.C. § 794, et seq.;

  and the Fourteenth Amendment, 42 U.S.C. § 1983.




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2. Esrom was a fourth-year student at LSU^s College of Engineering


  during the fail 2018 semester, and at all times relevant herein was, a

  resident of the State of Louisiana and is an adult qualified to bring


  suit.


3. Esrom has Attention-Deficit/Hyperactivity Disorder1 (^ADHD") and is


  therefore substantially limited in the major activity of concentrating^

  reading, thinking and functions of the brain2.


4. During the fall 2016 semester, Esrom registered with LSU^s Office


  of Disability Services (^ODS//) by providing the required medical


  documentation from his primary care physician. Esrom is/ and at all times

  relevant herein was a qualified individual with a disability as defined


  under the ADA and its implementing regulations (42 U.S.C. § 12102; 28


  C.F.R. § 36.104), and Section 504 and its implementing regulations (29

  U.S.C. § 705(20) (A)-(B); 28 C.F.R. 41.32(b)).


                               JURISDICTION AND VENUE


5. This Court has subject matter jurisdiction pursuant to 28 U.S.C.

  1331 and 1343(a) (3)&(4), for claims arising under the ADA and


  Section 504. Moreover/ this Court has jurisdiction of the Plaintiff s




   1 ADHD includes: predominantly inattentive type, predominantly
   hyperactive-impuisive type, and combined type (where symptoms of the
   first two types are equally present) Centers for Disease Control and
  Prevention (CDC)/ Attention Deficit/Hyperacfivity Disorder (ADHD)/ Facts
  About ADHD, (updated April 2016) ("CDC Facts About ADHD//) /
   http://www.cdc .gov/ncbddd/adhd/facts.html.



    42 U.S.C. § 12102(2).
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  claims arising from Constitutional rights violations, under the

  Fourteenth Amendment, 42 U.S.C. § 1983.


6. Pursuant to 28 U.S.C. § 1367, this Court has supplemental

  jurisdiction over claims arising under Louisiana law, including the LAPA


  claim.


7. Venue is proper in this Court pursuant to the provisions of 28


  U.S.C. § 1391, in that all of the claims and events giving rise to this


  action occurred in this district.


8. This Court has jurisdiction over plaintiff's claims for declaratory

  relief and injunctive relief pursuant to 28 U.S.C. §§ 2201 and 2202 and


  Rule 65 of the Federal Rules of Civil Procedure.


                                         PARTIES


                                  I) Plaintiff

9. Esrom is a citizen of both the United States and the Commonwealth


  of Virginia. Esrom is a Pro Se litigant.

                                II) Defendants


10. Board of Supervisors of Louisiana State University and A&M College

  ("LSU") is a public entity within the meaning of Title II of the ADA,

  and LSU receives financial assistance from the federal government within

  the meaning of Section 504.

11. Dr. F. King Alexander ( "Dr. Alexander"), President and Chief


  Executive Officer of LSU. Dr. Alexander is sued individually and in his


  official capacity as President of LSU.

12. Dr. Stacia Haynie (^Dr. Haynie"), Executive Vice President


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  ("EVP") , and Provost of LSU-Baton Rouge. Dr. Haynie is sued in her


  official capacity as the EVP and Provost of LSU-Baton Rouge.

13. Dr. Matt Lee ("Dr. Lee//) , Vice Provost for Academic Programs and


  Support Services. Dr. Lee is sued individually and in his official


  capacity as Vice Provost of LSU-Baton Rouge.


14. Dr. Kurt Keppler, ("Dr. Keppler//) , Vice President for Student


  Affairs at LSU-Baton Rouge. Dr. Keppler is sued individually and in his


  official capacity as the Vice President for Student Affairs.


15. Dr. Judy Wornat ("Dr. Wornat^), Dean of College of Engineering.


  Dr. Wornat is sued individually and in her official capacity as the Dean


  of LSUrs College of Engineering.

16. Dr. Jonathan Sanders ("Dr. Sanders"), Director of LSU/s Student


  Advocacy and Accountability ("SAA"). Dr. Sanders is sued individually


  and in his official capacity as the Director of SAA.

17. Ms. Rachel L. Champagne ("Ms. Champagne"), Assistant Director SAA.


  Ms. Champagne is sued individually and in her official capacity as the


  Assistant Director of Student Accountability.

18. Ms. Chelsie Bickel ("Ms. Bickel")/ Assistant Director of SAA. Ms.


  Bickel is sued individually and in her official capacity as the Assistant


  Director of Student Accountability.

19. Ms. Dawn Sousa-Hearn ("Ms. Sousa~Hearn//) , Associate Director-


  Accommodation Advocacy & Guidance, Office of Disability Services. Ms.

  Sousa-Hearn is sued individually and in her official capacity as the


  Associate Director of ODS.
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20. Dr. Mayank Tyagi (Dr. "Tyagi//) , Associate Professor/ College of


  Engineering. Dr. Tyagi is sued individually and in his official capacity.

21. Defendants Does 1 to 10 are individuals currently not known to the

  Plaintiff and are believed to be involved in violating Plaintiffs


  Constitutional and Statutory Rights. Defendants Does 1 to 10 are sued

  individually and in their official capacities.


                          GENERAL FACTUAL BACKGROUND


22. Plaintiff was admitted to LSU/s College of Engineering as a


  transfer student and started enrollment during the summer 2016 semester.


23. On July 25, 2016^ the Plaintiff received a diagnosis of Attention-


  Deficit/Hyperactivity Disorder ("ADHD") form his Primary Care Physician


  and began prescription medication treatment.


24. During the Fall 2016 semester, the Plaintiff requested

  accommodation/modification and submitted medical documentation to ODS.


25. Subsequently, LSU's Office of Disability Services (^ODS//) approved


  plaintiff's request for the following accommodations3:

       Extended time for exams (time-and-a-half)
       Exams in a distracted-reduced environment




   contrary to 34 C.F.R. §§ 104.4(b), 104.21-23, 104.37, 104.61,
   LSU/s ODS group together accommodations and services in a blanket
   fashion to all students with ADHD. According to a guidance from
   the Department of Education, Office for Civil Rights^ nreasonable
   modification is fact-dependent and requires a case-by-case
   analysis.", ("Dear Colleague Letter and Resource Guide on Students
   with ADHD"),
   https://www2.ed. gov/about/offices/list/ocr/letters/colleague-
   201607-504-adhd.pdf
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26. On March 01^ 2018, Esrom filed a complaint4 with the U.S. Department


  of Education, Office for Civil Rights (^OCR") against Dr. Tyagi alleging


  discrimination and retaliation based on national origin, and disability.


27. The complaint alleges that Dr. Tyagi reported Esrom twice to Ms.

  Champagne (Assistant Director, Student Accountability) for academic


  misconduct with other twelve middle-eastern students who were accused of


  cheating on a final exam during the fall 2017 semester.


28. On December 11, 2017, Esrom received an email from Dr. Tyagi stating


  that he has been reported to SAA for academic misconduct .


29. On January 01, 2018, Esrom received a second email from Dr. Tyagi


  stating that he has been referred to SAA with other twelve middle-eastern


  students who were caught cheating on a final exam in December 2017.


30. Although Esrom was cleared from any wrongdoing in both instances, he


  was subjected to anxiety and mental anguish because of the accusations


  by Dr. Tyagi.


31. Esrom reported the incidents to his counselor and she contacted Dr.


  Tyagi.

32. On January 01, 2018, Esrom received an email from Dr. Tyagi stating




   4 On April 23, 2018, OCR dismissed Complaint # 06182141 citing the
   following reason:
    "[ujnder QCR/s Case Processing Manual (CPM), Section 108(g)(i)/ OCR
   will dismiss allegations of discrimination when the same or similar
   allegation(s) filed with OCR involve the same operative facts currently
   pending before another federal/ state/ or local civil rights enforcement
   agency or through a recipienfs internal grievances. And OCR anticipates
   that ail allegations will be investigated and that there will be a
   comparable resolution process pursuant to legal standards that are
   acceptable to OCR.
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  that he would not be allowed to take a final makeup exam. Moreover/ Esrom


  believes that the action taken by Dr. Tyagi was in retaliation, and it


  is because Esrom voiced his concern regarding Dr. Tragi/s discriminatory


  behavior.


33. Esrom believes that he was targeted for discrimination and


  retaliation because of his national-origin (middle-eastern) .

34. On or around the same time, Esrom informed Dr. Wornat/s office, the


  Provost5, and Dr. Alexander's office regarding the discrimination and


  retaliation believing that LSU would investigate6 the complaint.


35. OCR dismissed the complaint pursuant to OCR'S policy and assuming


  that LSU would investigate the complaint. However, LSU did not


  investigate the complaint. Moreover, Esrom did not receive any response


  from LSU regarding the complaint.

36. On April 2018, Esrom filed a complaint with U.S. Department of


  Justice/ Disability Rights Section ("DoJ//) alleging that Ms. Sousa-Hearn


  and Dr. Tyagi refused to provide reasonable accommodations. DoJ referred


  the complaint to OCR on April 9/ 2018. And, OCR opened the complaint for


  investigation.




37. On June 20, 2018, Ms. Sousa-Hearn reported Esrom to SAA alleging




   5 Dr. Richard Koubek, former LSU-Baton Rouge Provost.


   6 According to LSU/ s Permanent Memorandum -55, "Any individual who
   deceives a [discrimination] complaint or becomes aware of a possible
   violation of this policy will immediately notify the Campus Office of
   Human Resource Management or individual responsible for the campus Human
   Resources function to obtain, advice and assistance in responding to the
   complaint.//


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  academic misconduct.




38. On July 2, 2018, Esrom filed a retaliation complaint with OCR


  alleging that Ms. Sousa-Hearn and Ms. Champagne retaliated against him


  because he sought to secure his rights as a student with a disability.



39. Ms. Champagne investigated the alleged incident and on July 10,

  2018, found Esrom guilty7 of violating LSU^s Code of Student Conduct.


40. Ms. Champagne refused Esrom a due process, which is afforded to all

  LSU students as described in LSU/s student disciplinary procedures.


41. Esrom was entitled to procedural protections during the


  disciplinary hearing because students facing disciplinary hearings at


  public colleges and universities have both liberty and property interests


  at stake.


42. Esrom refused to accept Ms. Champagne's determinations and appealed


  the case to a Hearing Panel.


43. A Hearing Panel decided to uphold Ms. Champagne's decision.


44. Esrom appealed the PaneVs decision to LSU/s Dean of Students.


45. On August 8/ 2018, the Dean of Students decided to uphold the

  decision of the Panel and assigned the following punishments for the




   7 Ms. Champagne found Esrom guilty of violating LSU^ s Code of Student
   Conduct and assigned the following punishments:
     I) A grade of "zero" for a test
     II) Academic Transcript Notation that will carry a notation that
           reads "Academic Misconduct"
     Ill) Disciplinary Probation with Restrictions
     IV) Apology Letter
     V) Ethics & Decision Making Course (EDMC)
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  alleged violations of LSU^s Code of Student Conduct:

        I) Apology Letter
        II) Ethics & Decision Making Course (EDMC)




46. On August 8, 2018^ Esrom sent the following email to the Dean of


  Students:




              Dr. Fuentes-Martin,


              Thank you for your email.


              I have received your decision, but I don/t see anything
              regarding my grade. I/m just trying to see if there is
              any change because your letter doesn^t talk about grade
              impact.


              Thank you!


              Esrom


47. On August 9^ 2018^ the Dean of Student returned Esrom/s email and


  stated the following:


              Esrom,
                      The University Hearing Panel did not make a
              determination on the grade, therefore/ I did not change
              the final grade determined by the faculty member.
              Dr. Fuentes-Martin


48. Esrom contacted ,SAA for clarification because he found

  discrepancies, and asked Ms. Champagne, Ms. Bickel and Dr. Sanders why


  the Dean was under the impression that a grade of ^zero" on the test in


  question was not part of the determination reached by the Panel.


49. SAA stated that the Dean made a mistake8.




   8 Plaintiff believes that the Dean was intentionally misled by SAA.

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50. Esrom is not given any more explanation either from the Dean or SAA


  employees regarding the inconsistency.


51. Because of the alleged misconduct and a disciplinary notation in


  Esrom/s academic record/ he was not able to qualify for scholarships and


  other grants because the scholarship he applied requires an applicant to

  have a clean academic record, but Esrom's academic transcript has a


  disciplinary notation. As a result, opportunities afforded to other LSU


  students such as grants and internship opportunities were denied to

  Esrom.


52. Further/ SAA blocked9 Esrom from registering for classes because

  he refused to write an apology letter as a punishment.


53. Esrom refused to accept the alleged misconduct because he strongly


  believes that it is in retaliation for speaking against discrimination.


54. On October 22, 2018, Esrom requested CDS for additional


  accommodations such as 1) extended time for assignments and projects and

  2) consideration for attendance .


55. ODS response to Esrom/s additional accommodations request is as


  follows:

                Hi Esrom,

                The documentation we have on file currently does not
                support the need for neither extended time on out of
                class assignments nor consideration for absences.

                Please provide additional documentation from you medical
                provider/ preferably by having our forms completed and



   9 SAA allowed Plaintiff to be able to register for classes after OCR
   intervened^ and SAA agreed to rehear the plaintiff's appeal and case again.


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             submitted, in order to be considered for such
             accommodations.

             Additionally, extended time on out of class assignments
             is not an accommodation we would add to your
             accommodation letter. If approved to receive extensions
             on out of class assignments/ this would only be granted
             on a case by case basis. You would be responsible for
             informing me when you are in need of an extension and I
             would make the request on your behalf. Your instructor
             will determine the length of the extension. Being that
             I would need to make the request on your behalf/ should
             you be granted such an accommodation, you are
             responsible for informing me of your need well before a
             day or two before the assignment is due. Just want to
             make you aware of how the accommodation works.




56. Esrom submitted additional medical documentation from his primary


  care physician showing additional diagnosis and a change in prescription


  medication dosage.


57. ODS refused additional accommodations after reviewing the medical


  documentation and stating the following as their reason:

             Hi Esrom,


             Thank you for your email. The form you submitted only
             addresses your ADHD diagnosis, which we already have on
             file. I did read the doctor's visit notes you submitted,
             and if Dr. Graves or whomever else may be treating you
             for anxiety and depression could complete and submit the
             Psychological form located on our website, additional
             accommodations can be considered. We need to know
             functional limitations of those diagnoses, so if you
             could have our Psychological form completed in full/ we
             can then consider your accommodation requests.


             Thank you




58. On October 31, 2018, Esrom sent the following email to CDS:


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              Ms. Beverly/


              Based on my midterm exam results/ I am failing all of my
              courses. I would like to request additional
              accommodations based on the original documentation I
              have on file with ODS.
              Thanks
               Es rom


59. The response from ODS for Esrom's additional accommodations request


  was the following:


              Hi Esrom,
              I would highly suggest meeting with an academic advisor
              so they can help you develop a plan for the remainder of
              the semester. If you have serious health concerns that
              may be impeding your ability to pass your classes, I
              would talk with the advisor about a possible
              resignation^ which will give you time to focus on your
              health.


              As you have been informed previously, we will need
              supporting documentation before considering your
              accommodation request. Please let me know if you have
              additional questions.


60. Esrom appealed the case to LSU/s Title IX Coordinator. However, the


  appeal was rejected by the Coordinator stating that "additional


  documentation is required in order to initiate additional


  accommodations.


61. Because obtaining additional documentation10 from a medical


  professional is expensive and time-consuming, Esrom picked up the

  document from his Primary Care Physician on a regularly scheduled visit.

62. Because of LSU/ s failure to provide reasonable accommodations/




   io28 CFR 36.309(iv) states that "Any request for documentation/ if such
   documentation is required/ is reasonable and limited to the need for the
   modification/ accommodation/ or auxiliary aid or service requested^

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  Esrom was not able to equally and fully benefit from services and


  benefits provided to other LSU students.


63. As a result/ Esrom withdrew a course and was unable to successfully


  complete all courses registered for Fall 2018 semester.


64. Esrom made the additional reasonable accommodations request because


  the accommodations granted to him by ODS was not as effective as those


  provided to other disabled students, and this was negatively affecting


  his grades.


65. Section 504 states that "services provided by the institution must

  be equally effective as those furnished to other similarly qualifying

  disabled students so that it provides every student with similar


  disability with an equal opportunity to achieve the same results,


  benefits, or achievements. And/


66. 34 C.F.R. § 104.44(c) states that ^[i]n its course examinations or

  other procedures for evaluating students' academic achievement,


  a recipient to which this subpart applies shall provide such methods for


  evaluating the achievement of students who have a handicap that impairs

  sensory/ manual^ or speaking skills as will best ensure that the results


  of the evaluation represent the student's achievement in the course,


  rather than reflecting the student's impaired sensory, manual/ or

  speaking skills (except where such skills are the factors that the test


  purports to measure).


67. Esromrs request for additional accommodations would have been


  appropriate to evaluate his achievement and his knowledge of the courses


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  because his request was for an extended time on exams, tests, and


  projects. And^ these accommodations or modifications would not


  fundamentally alter the nature of the program, lower or waive essential

  academic requirements, or result in undue financial or administrative


  burdens to LSU.


68. The primary reason why Esrom requested these additional

  accommodations is that he was consistently unable to finish exams, tests/


  and assignments in the allocated time because of the disability he has,

  which is ADHD.




                              CAUSE OF ACTION

         Count 1 - Violation of TxtXe II of the Americans with

             Disabilities Act (42 U.S.C. § 12131, et seq.)



                           Plaintiff Against LSU



69. Plaintiff incorporates by reference all preceding paragraphs.

70. Title II of the ADA states: ^no qualified individual with a


  disability shall/ by reason of such disability, be excluded from


  participation in or be denied the benefits of the services, programs/ or


  activities of a public entity, or be subjected to discrimination by any

  such entity." 42 U.S.C. § 12132.


71. At all times relevant to this action/ LSU was a public entity within


  the meaning of Title II of the ADA and provided a program, service, or

  activity to qualified individuals.

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72. At ail times relevant to this action. Plaintiff was a qualified

  individual with a disability within the meaning of Title II of the ADA

  and met the essential eligibility requirements for the receipt of the


  services, programs, or activities offered by LSU.


73 . Through the acts and omissions of Defendant LSU and its agents and


  employees described herein. Defendant LSU has subjected Plaintiff to

  discrimination on the basis of disability in violation of Title II of


  the ADA. In addition^ LSU failed to provide Plaintiff with reasonable


  accommodations. Moreover, as a public entity/ LSU refused to modify


  policies, practices, and procedures to avoid discrimination against a

  student with disabilities.


74. A claim for failure to accommodate under the ADA has the following


  elements: (1) the plaintiff is a qualified individual with a disability;

  (2) the disability and its consequential limitations were known by the


  covered institution; and (3) the covered institution failed to make

  reasonable accommodations for such known limitations. Neely v. PSEG Tex.,


  Ltd. P'ship, 735 F.3d 242, 247 (5th Cir.2013).


75. Pursuant to the remedies, procedures, and rights set forth in 42


  U.S.C. §12133 and 42 U.S.C. § 12205, Plaintiff prays for judgment as set

  forth in the Prayer for Relief.




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    Count 2 - Violation of Section 504 of the Rehabilitation Act of
                          1973 (29 U.S.C. § 794) .



                     Plaintiff Against All Defendants




76 . Plaintiff incorporates by reference all preceding paragraphs.

77. Section 504 provides in pertinent part: "[n]o otherwise qualified


  individual with a disability . . . shall, solely by reason of his or her


  disability, be excluded from the participation in, be denied the


  benefits/ or be subjected to discrimination under any program or activity

  receiving federal financial assistance. . .ff 29 U.S.C. § 794(a).


78 . Plaintiff was at all times relevant herein a qualified individual


  with a disability within the meaning of Section 504 because he has a


  psychological impairment that substantially limits one or more major


  life activities. See 29 U.S.C. § 705(20) (B).

79. At all times relevant to this action Defendants were recipients of

  federal funding within the meaning of Section 504.


80. Through their acts and omissions described herein/ Defendants have


  violated Section 504 by excluding Plaintiff from participation in, by


  denying him the benefits of/ and subjecting him to discrimination in the


  benefits and services that Defendants provide to qualified individuals.


81. Pursuant to the remedies^ procedures, and rights set forth in 29


  U.S.C. §794(a), Plaintiff prays for judgment as set forth below.




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          Count 3 " Retaliation in violation of Section 504 of the
                                  Rehabilitation



                            Plaintiff Against LSU



82. Plaintiff incorporates by reference all preceding paragraphs.

83. Plaintiff submitted multiple complaints to the U.S. Department of


  Education and U.S. Department of Justice regarding disability


  discrimination by LSU. And LSU was aware of the complaints.


84. LSU retaliated against plaintiff by alleging pretextual disciplinary

  misconduct/ which caused the plaintiff to lose financial benefits and


  scholarship funds.




                       Count 4 - Breach of Contract


85. Plaintiff incorporates by reference all preceding paragraphs.

86. Defendants breached multiple provisions of the LSU/s Policy


  Statements/ Permanent Memorandum/ and regulations .


87. Defendants have failed to perform the duties of which they


  contracted to assume in. La. Civil Code Art. 1994 states that an obligor


  is liable for the "damages caused by his failure to perform a conventional


  obligation." La. Civil Code Art. 2769 states that "If an undertaker fails


  to do the work he has contracted to do/ or if he does not execute it in


  the manner and at the time he has agreed to do it/ he shall be liable in

  damages for the losses that may ensue from his non-compliance with his




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  contract.//



88. In failing to conduct an investigation that complied with LSU/s

  Policy Statement 26 ("PS-26//) and Permanent Memorandum 55 ("PM-55/) ,


  Defendants breached the implied covenant of good faith and fair dealing


  that required them to act in good faith and to deal fairly so as not to


  destroy the benefit of the bargain for Plaintiff

89. Defendants here failed to provide an educational program in


  accordance with their own rules and procedures/ thus breaching the


  contract between them and the plaintiff.


                          Count 4 - Respondent Superior

                       Plaintiff Against All Defendants


90. Plaintiff incorporates by reference all preceding paragraphs.

91. While committing the misconduct alleged in the preceding


  paragraphs, some Defendants and others were employees, members^ and agents


  of LSU. And,


92. Therefore, Defendants are liable as principals for all torts


  committed by their agents.


                               PRAYER FOR RELIEF




93. Plaintiff requests a trial by jury.

94. Wherefore, Plaintiff requests judgment be entered against


  Defendants and that/ the Court grants the following:




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a) Injunctive relief against Defendants to allow Esrom to


  continue his studies at LSU College of Engineering;

b) Declaratory relief;


c) Judgment against Defendants for Plaintiff/s asserted


  causes of action;


d) An award of compensatory and special damages.

e) An Award for such other and further relief as the Court


  may deem just and proper.




  Respectfully Submitted,




  I hereby certify under penalty of perjury that the above
  petition is true to the best of my information, knowledge,
  and belief.



                                   Esrom Demeke, Pro Se^ litigant.


                                      ^a^\v^
                                                 August 15, 2019

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                                            Baton Rouge, LA 70820
                                                     572-306-9137
                                                   Ederaekl@lsu.edu




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